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                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA


[N RE:

                                                                    CASE NO. 19-10655-JKO
Consumer Advocacy Center, Inc
                                                                    CHAPTER 11 PROCEEDING
          Debtor




           DEBTOR'S NOTICE OF FILING PAYROLL AND SALES TAX REPORTS
        eo'sv'             /91/V0cA-Cy Ce4`r-
     1111111101111111/11111111•111111100, INC., Debtor-in-Possession, ("Debtor") pursuant to Local
Rule
2081-1(A), having filed its Chapter 11 Petition on January 16, 2019, (the "Filing Date") files its
Payroll and Sales Tax Reports as follows:

 PAYROLL TAXES:
 1.       Payroll taxes accrued for      month prior to filing: Date
          Paid: $0                      Amount Paid No Payroll
                                        Place of Paiment:_



 II.      Payroll taxes accrued for 2" d month prior to filing: Date                              I1g
                                                                                          I i / 22.
          Paid: S34.24                  Amount Paid: $34.24
                                         Place of Payinent: This amount was a small adjustment for previous
          taxes owed that was debited by ADP Payroll Systems



 III.     Payroll taxes accrued for r month prior to filing: Date
                                                                                         loil t lit
          Paid: 5182,706.89             Amount Paid: $182,706.89
                                         Place of Payinent: ADP handles Payroll for CAC and pays all relevant
          federal and state taxes when Consumer Advocacy Center Inc, runs its payroll, which is weekly.




 IV.      Payroll taxes accrued for 4 th month prior to filing: Date
                                                                                         q 2o lig_
          Paid: $232,742.14             Amount Paid: $232,742.14
                                         Place of Paiment: ADP handles Payroll for CAC and pays all relevant
          federal and state taxes when Consumer Advocacy Center Inc, runs its payroll, which is weekly.



V.        Payroll taxes accrued for 5 th month prior to filing Date
          Paid: $227,199                Amount Paid: $227,199
                                         Place of Payinent: ADP handles Payroll for CAC and pays all relevant
          federal and state taxes when Consumer Advocacy Center Inc, runs its payroll, which is weekly.
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 VI.      Payroll taxes accrued for 6th month prior to filing: Date                      7(1-ad i 3,
          Paid: $215,096.36             Amount Paid $215,096.36
                                         Place of Pay-ment: ADP handles Payroll for CAC and pays all relevant
          federal and state taxes when Consumer Advocacy Center Inc, runs its payroll, which is weekly.




 VII.     Amount still due and owing for six month period preceding filing: $0


  vin Amount still due and owing for earlier periods:                               $0




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SALES TAXES: Not Applicable Consumer Advocacy Center Inc does not
sell any products therefore no sales taxes collected.

I.       Gross Sales subject to Sales Tax for 1s t month prior to filing:
         Sales taxes accrued for 1s t month prior to filing:
         Date Paid:                   Amount Paid
         Place of Payment:

II.     Gross Sales subject to Sales Tax for 2nd month prior to filing:                    /0l
        Sales taxes accrued for 2n d month prior to filing:
         Date Paid:                   Amount Paid
         Place of Payment:

        Gross Sales subject to Sales Tax for 3rd month prior to filing:                      ) A-
        Sales taxes accrued for 3rd month prior to filing:
         Date Paid:                   Amount Paid
         Place of Payment:

IV.      Gross Sales subject to Sales Tax for 4" month prior to filing:
         Sales taxes accrued for 4th month prior to filing:
         Date Paid:                   Amount Paid
         Place of Payment:

V.       Gross Sales subject to Sales Tax for 5' month prior to filing:
         Sales taxes accrued for 5" month prior to filing
         Date Paid:                   Amount Paid
         Place of Payment:

VI.     Gross Sales subject to Sales Tax for 6 th month prior to filing:
        Sales taxes accrued for 6" month prior to filing:
         Date Paid:                   Amount Paid
         Place of Payment:

VII.    Amount still due and owing for six month period preceding filing:

VIII.   Amount still due and owing for earlier periods:
              Case 19-10655-JKO        Doc 34         Filed 04/03/19    Page 3 of 9



for the 6 months preceding the filing date.

       I,         A I 6to- Ki K..        president f
                                           ,               C o ykso"..e.f— A et v °cc;                 Ce ii-4-e v-   i i,
declare under penalty of perjury that the foregoing formation is true and correct to the st
of my knowledge, information and belief.

Date                / (1                       By


                                                         prtaLe:;741   iL
                                                                        tgnirr
                                                                            l


A certificate of service complying with Local Rules 2002-1(F) and 2081-1(A)(3) reflecting service on
the U.S. Trustee, the Internal Revenue Service, the Florida Department of Revenue and any other
taxing authority named in the report must accompany the filing of this document.



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                                                                                                              Total Taxes paid by ADP Payroll
                                                                                                              on behalf of Consumer Advocacy
                                                                                                              Center Inc that was paid for
                                                                                                              Federal and State Taxes (This is
                                                                                                              the total paid by ADP for the
Period End    Employees' Portion of taxes       Employer's Portion of taxes       Total Taxes Paid Date       prior weeks up till date in yellow)
   6/9/2018                         27,925.07                       12 611.33       40,536.40     6/14/2018
  6/16/2018                         28,385.54                       12,741.82       41,127.36     6/21/2018
  6/23/2018                         29,227.80                       12,975.13       42,202.93     6/28/2018
  6/30/2018                         32,804.05                       14,222.37       47,026.42      7/5/2018
   7/7/2018                         30,483.22                       13,720.03       44,203.25     7/12/2018                           $215,096.36
  7/14/2018                         32,822.58                         13,596.70      46 419 28    7/19/2018
  7/21/2018                         34 813 10                         15,057 58      49,870.68    7/26/2018
  7/28/2018                         33 076 11                         14,558.62      47,634.73     8/2/2018
   8/4/2018                         30,016.24                         13,776.65      43,792.89     8/9/2018
  8/11/2018                         26,327.85                         13,153.57      39,481.42    8/16/2018                            5227,199.00
  8/18/2018                         30,615.55                         14 503 42      45,118.97    8/23/2018
  8/25/2018                         32,903.66                         14,727.71      47,631.37    8/30/2018
   9/1/2018                         36,458 30                         15,970.19      52,428.49     9/6/2018
   9/8/2018                         27 840.30                         13,598.14      41,438.44    9/13/2018
  9/15/2018                         31,321 22                         14,803.65      46,124.87   9/20/2018                             $232,742.14
  9/22/2018                         29 699 90                         14,733.98      44,433.88   9/27/2018
  9/29/2018                        108,628 88                         26,494.24     135,123.12    10/4/2018
  10/6/2018                          1,951.06                          1,198.83       3,149.89   10/11/2018
 10/13/2013                                                                                      10/18/2018                            $182,706.89
 10/20/2018                             16.01                             18.23          34.24   10/25/2018
 10/27/2018                                                                                       11/1/2018
  11/3/2018                                 -                                                     11/8/2018
 11/10/2018                                 -                                                    11/15/2018
 11/17/2018                                 -                                                    11/22/2018                                   $34.24
 11/24/2018                                 -                                                    11/29/2018
  12/1/2018                                 -                                                     12/6/2018
  12/8/2018                                                                                      12/13/2018
 12/15/2018                                                                                      12/20/2018                                    $0.00
 12/22/2018                                 -                                                    12/27/2018
 12/29/2018                                                                                        1/3/2019
   1/5/2019                                 -                                                     1/10/2019
  1/12/2019                                 -                                                    1/17/2019
  1/19/2019                                                                                      1/24/2019
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                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA


IN RE:
                                                                                  CASE NO. 19-10655-JKO
CONSUMER ADVOCACY CENTER, INC.
                                                                                  CHAPTER 11 PROCEEDING
         Debtor


                                           CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on April 3, 2019, I electronically filed the foregoing document

with the Clerk of the Court using CM/ECF, and that the Debtor's Notice of Filing Payroll and Sales

Tax Reports is being served this day on is being served this day on all counsel of record or pro se

parties identified and all creditors on the attached mailing list, either via transmission of Notices of

Electronic Filing generated by CM/ECF or in some other authorized manner for those counsel or

parties who are not authorized to receive electronically Notices of Electronic Filing.

                                                             Respectfully submitted,

                                                             BEHAR, GUTT & GLAZER, P.A.
                                                             Attorneys for Debtor
                                                             DCOTA, Suite A-350
                                                             1855 Griffin Road
                                                             Fort Lauderdale, Florida 33004
                                                             Telephone: (305) 931-3771
                                                             Email: bsb @bgglaw.com
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                                                             By:        /s/ Brian S. Behar
                                                                       BRIAN S. BEHAR
                                                                       FBN: 727131
                                                                       ROBERT J. EDWARDS
                                                                       FBN: 7544




             BEHAR, GUTT & GLAZER, P.A. DCOTA, SUITE A-350, 1855 GRIFFIN ROAD, FORT LAUDERDALE, FLORIDA 33004
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 Label Matrix for local noticing               Consumer Advocacy Center Inc.                Aaron Frey, Maine Atty General
 113C-0                                        173 Tehnology Dr #202                        6 State House Station
 Case 19-10655-JKO                             Irvine, CA 92618-2489                        Augusta, ME 04333-0006
 Southern District of Florida
 Fort Lauderdale
 Tue Jan 22 16:23:53 EST 2019
Abante Rooter & Plumbing, Inc.                 Alan Wilson, S.C. Attorney General           Bob Fuerguson, Attorney General
c/o Andrew Heidarpour, Esq.                    Office of Atty General South Carolina        Office of Attorney General Washington
Heidarpour Law Firm, PLLC                      1000 Assembly Street, Rm 519                 1125 Washington Street
1300 Pennsylvannia Ave, NW 190-318             Columbia, SC 29201-3117                      P.O. Box 40100
Washington, DC 20004-3002                                                                   Olympia, WA 98504-0100

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Office of Atty General State of Maryland       Illinois Division of Finance & Prof Reg      1700 G Street NW
200 St. Paul Place                             320 West Washington Street, 3rd Fl           Washington, DC 20552-0004
Baltimore, MD 21202-2004                       Springfield, IL 62786-0001


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                                              Nashville, TN 37243-1102
                                   Case 19-10655-JKO       Doc 34         Filed 04/03/19   Page 7 of 9

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                                               Miami, FL 33130-1614


Ray Grace, Commission                          Ryan Sullivan                                 Scott Cameron, Senior Deputy Comm
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4309 Mail Service Center                       Helena, MT 59620-0151                         Financial Services Division
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                                                                                             Sacramento, CA 95814-4052

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                                                                                             P.O. Box 944255
                                                                                             Sacramento, CA 94244-2550

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Phil Weiser, Attorney General                 Jorge Perez, Commissioner                      Chris Carr, Attorney General
Ralph L. Carr Judicial Bldg                   260 Constitution Plaza                         40 Capital Square, SW
1300 Braodway 10th Floor                      Hartford, CT 06103-1820                        Atlanta, GA 30334-9057
Denver, CO 80203-2104

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                                              Springfield, IL 62701-1705

State of Iowa                                 State of Kansas                                State of Maine
Iowa Division of Banking                      Office of Atty General Derek Schmidt           Anne L. Head, Commissioner
200 East Grand Ave, Ste 300                   Consumer Protection Division                   Maine Dept of Proff & Finance Regulation
Des Moines, IA 50309-1827                     120 SW 10th Ave, 2nd Floor                     35 State House Station
                                              Topeka, KS 66612-1237                          Augusta, ME 04333-0035
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State of Maryland                                     State of Massachusetts                                State of Minnesota
Antonio P. Salazar, Commissioner                      CRA Unit                                              Office of the Attorney General
Financial Regulation                                  One South Stateion 3rd Floor                          445 Minnesota St, Suite 1200
500 North Calvert St, Ste 402                         Boston, MA 02110-2253                                 Saint Paul, MN 55101-2130
Baltimore, MD 21202-3659

State of Missouri                                     State of Montana                                      State of New Hampshire
Office of Atty General                                Montana Office of Consumer Protection                 Gerald H. Little, Commissioner
Consumer Protection Division                          P.O. Box 200151                                       New Hampshire Banking Dept
P.O. Box 899                                          Helena, MT 59620-0151                                 53 Regional Drive, Ste 200
Jefferson City, MO 65102-0899                                                                               Concord, NH 03301-8500

State of New York                                     State of North Carolina                               State of North Dakota
Maria T. Vullo, Superintendent of Financ              Department of Justice                                 Office of Attorney General
NY Dept of Financial Services                         9001 Mail Service Center                              Gateway Professional Center
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New York, NY 10004-1511                                                                                     Bismarck, ND 58503-5574

State of Ohio                                         State of Oklahoma                                     State of Oregon
Jacqueline T. Williams, Director                      Office of Attorney General                            Department of Consumer 6 Business Servic
Ohion Dept of Commerce                                Consumer Protection Unit                              Division of Financial Regulation
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State of Pennsylvannia                                State of South Carolina                               State of Tennessee
Robin L. Weissmann, Secretary of Banking              David Campbell, Commissioner                          Department of Commerce 6 Insurance
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State of Vermont                                      State of Washington                                   State of Wisconsin
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Vermont Dept of Financial Regulation                  Washington State Dept of Financial Insti              2811 Agriculture Dr.
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Steve Kelly, Commissioner                             Stuart Abramson                                       Sue Reed
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Saint Paul, MN 55101-2143

Susan Laib                                           TJ Donovan, Vermont Atty General                      Time Kemp, Deputy Bank Commissioner
Lead Consume Special                                 109 State Street                                      State Bank Commof Kansas
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Oklahoma City, OK 73105-3207                                                                               Topeka, KS 66603-3782


Tom Miller, Iowa Attorney General                    Wayne Stenehjem, Atty General                         Brian S Behar Esq
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Hover State Office Bldg                              Bismarck, ND 58503-5574                               Ft. Lauderdale, FL 33004-2210
1305 E. Walnut Street
Des Moines, IA 50319-0106



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).
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Federal Trade Commission
Tara Isla Koslov, Chief of Staff
600 Pennsylvannia Ave, NW
Washington, DC 20580




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.



(u)Bob Moses                                         End of Label Matrix
                                                     Mailable recipients    86
                                                     Bypassed recipients     1
                                                     Total                  87
